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                                  UNITED STATES DISTRICT COURT
                                               for the
                                         District of Nevada


COREY GERWASKI

                                                                                         2:24-CV-00985


state of nevada EX REL BOARD OF REGENTS OF
THE NEVADA SYSTEM OF HIGHER EDUCATION, ON
THE BEHALF OF THE UNIVERSITY OF NEVADA LAS
VEGAS, ET AL




  RODNEY RICHTER being duly sworn says: That at all times herein affiant was and is a citizen of the United
States, over 18 years of age, not a party to or interested in the proceedings in which this affidavit is made. That
affiant received 1 copy(ies) of the SUMMONS, AMENDED COMPLAINT, on the 10th day of February, 2025 and
served the same on the 12th day of February, 2025, at 08:17 by:


serving the servee STUDENTS FOR JUSTICE OF PALISTINE -UNLV C/O ALEXA HAYDEN by personally
delivering and leaving a copy at (address) 12215 GILLESPIE ST UNIT 19108, HENDERSON NEVADA
89044with ALEXA HAYDEN as REPRESENTATIVE, an agent lawfully designated by statute to accept service of
process;



SERVED ALEXA HAYDEN AT HER FRONT DOOR.




                        12                Feb             2025
                                                                                         RODNEY RICHTER
                                                                                           R-2024-08015

              EP298469
